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 5                                 UNITED STATED DISTRICT COURT

 6                          FOR THE CENTRAL DISTRICT OF CALIFORNIA

 7     MARIA ALARCON,                                  Case No.: CV 21-7582-MWF (MAAx)

 8                   Plaintiff,                        ORDER OF DISMISSAL
       v.
 9
       C.R. BARD, INC., AND BARD PERIPHERAL
10     VASCULAR, INC.,

11                   Defendants.

12

13
              The Court, having reviewed the Plaintiff’s Motion to Dismiss with Prejudice, finds the
14
       motion should be and is hereby GRANTED.
15
              IT IS HEREBY ORDERED that Plaintiff’s claims against Defendants are hereby
16     dismissed with prejudice.
              IT IS FURTHER ORDERED that the above numbered and captioned cause is closed.
17

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19     Dated: November 10, 2021
                                           MICHAEL W. FITZGERALD
20                                         United States District Court

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